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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


YELLOWHAMMER FUND, on                )
behalf of itself and its             )
clients,                             )
                                     )
     Plaintiff,                      )
                                     )          CIVIL ACTION NO.
     v.                              )           2:23cv450-MHT
                                     )                (WO)
ATTORNEY GENERAL OF                  )
ALABAMA STEVE MARSHALL,              )
in his official capacity,            )
                                     )
     Defendant.                      )


WEST ALABAMA WOMEN’S                 )
CENTER, on behalf of                 )
themselves and their                 )
staff; et al.,                       )
                                     )
     Plaintiffs,                     )
                                     )          CIVIL ACTION NO.
     v.                              )           2:23cv451-MHT
                                     )                (WO)
STEVE MARSHALL, in his               )
official capacity as                 )
Alabama Attorney General,            )
                                     )
     Defendant.                      )

                                ORDER

    Upon   consideration        of       the   unopposed        motions       to

extend the deadline to seek attorneys’ fees and related
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non-taxable expenses (Doc. 86 and Doc. 87), and because

judicial   economy     and     preservation       of     the     parties’

resources warrant a postponed deadline, it is ORDERED

that:

    (1) The motions are granted.

    (2) The deadline for plaintiffs to seek attorneys’

fees and related non-taxable expenses is extended to

May 14, 2025, if no appeal is filed, and, if an appeal

is filed, to 14 days after the entry of the mandate at

the conclusion of the appeal.

    DONE, this the 10th day of April, 2025.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




                                  2
